 

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF WISCONSIN

 

GREGORY D. KONSIONOWSKYI,

Plaintiff,
Vv. Civil Action No. 19-CV-0596-bhI

PHILLIP J. SIKORSKI, individually,

Defendant.

 

SPECIAL VERDICT FORM

 

We the jury, empaneled and sworn to try the issues in this action, being directed by the

Court to answer the following questions submitted to us for verdict, find and answer as follows:

Question No. 1. Did Officer Philip Sikorski have reasonable suspicion to conduct
field sobriety tests on the Plaintiff Gregory Konsionowski?

Answer: x Yes No

Question No. 2. Did Officer Philip Sikorski have probable cause to arrest Plaintiff
Gregory Konsionowski?

Answer: x Yes No

If you answered “Yes” to both Question | and 2, do not answer any other Questions. If you

answered “No” to Question 1 or 2, answer Question 3.

Question No. 3. What sum of money, if any, will fairly and reasonably compensate
Gregory Konsionowski for any injury he sustained as a result of
Officer Philip Sikorski’s conduct?

Answer: $

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Question No. 4. Did Officer Philip Sikorski act maliciously or in reckless disregard
of Gregory Konsionowski’s constitutional rights?

Answer: Yes No

If you answered “Yes” to Question 4, answer Question 5. If you answered “No” to Question

A, do not answer Question 5.

Question No. 5. What sum of money, if any, do you award against Officer Philip
Sikorski as punitive damages?

Answer: $

Dated at Milwaukee, Wisconsin this Oly. day of October, 2022.

  

Dissenting Juror(s)

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Ahn Yn Name L Question(s) with which you do not agree

2 Name 4 Question(s) with which you do not agree

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